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                                            Exhibit 4

         Third-Party Plaintiff Signatories To The 2012 Removal Agreement

   1.    Arkema Inc. (Agent-Legacy Site Services LLC)
   2.    Ashland LLC
   3.    BASF Corporation (on its own behalf and on behalf of BASF Catalysts LLC)
   4.    Benjamin Moore & Co.
   5.    CNA Holdings LLC
   6.    Coats & Clark Inc.
   7.    Conopco, Inc., d/b/a Unilever (as successor to CPC/Bestfoods, former parent of Penick
         Corporation)
   8.    Cooper Industries, LLC
   9.    Covanta Essex Company
   10.   DII Industries, LLC
   11.   E. I. du Pont de Nemours and Company
   12.   Eden Wood Corporation
   13.   Elan Chemical Company
   14.   EnPro Industries, Inc. (successor to Coltec Industries Inc.)
   15.   Essex Chemical Corporation
   16.   Franklin-Burlington Plastics, Inc.
   17.   Garfield Molding Company, Inc.
   18.   General Electric Company
   19.   Givaudan Fragrances Corporation
   20.   Goodrich Corporation
   21.   The Hartz Consumer Group, Inc. as successor to certain liabilities of The Hartz Mountain
         Corporation
   22.   Hexcel Corporation
   23.   Hoffmann-LaRoche Inc.
   24.   ISP Chemicals LLC
   25.   L3Harris Technologies, Inc., successor in interest to Exelis Inc., successor in interest to
         the defense business of ITT Corporation
   26.   Leemilt’s Petroleum, Inc.
   27.   Legacy Vulcan, LLC
   28.   National-Standard, LLC
   29.   The Newark Group, Inc.
   30.   Newell Rubbermaid Inc., on behalf of itself and its wholly-owned subsidiaries Goody
         Products, Inc. and Berol Corporation (as successor by merger to Faber-Castell
         Corporation)
   31.   Nokia of America Corporation (f/k/a Lucent Technologies Inc., f/k/a Alcatel-Lucent USA
         Inc.)
   32.   Otis Elevator Company
   33.   Pharmacia LLC
   34.   PPG Industries, Inc.
   35.   Public Service Electric & Gas Company
   36.   Purdue Pharma Technologies, Inc.


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   37.   Quality Carriers, Inc.
   38.   Revere Smelting and Refining Corporation
   39.   Safety-Kleen Envirosystems Company, by McKesson Corporation, and McKesson Corp.
         for itself
   40.   Sequa Corporation
   41.   The Sherwin-Williams Company
   42.   Stanley Black & Decker, Inc.
   43.   STWB Inc.
   44.   Sun Chemical Corporation
   45.   Tate & Lyle Ingredients Americas LLC, formerly known as Tate & Lyle Ingredients
         Americas, Inc., formerly known as A.E. Staley Manufacturing Company (for itself and its
         former division Staley Chemical)
   46.   Teval Corporation
   47.   Textron, Inc.
   48.   TFCF America, Inc. (f/k/a 21st Century Fox America, Inc.)
   49.   Tiffany and Company
   50.   ViacomCBS Inc. (f/k/a CBS Corporation)




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